       Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 1 of 9



 1   Chao “Wendy” Wang, Bar No. 289325                 Judith B. Jennison, Bar No. 165929
     WWang@perkinscoie.com                             PERKINS COIE LLP
 2   PERKINS COIE LLP                                  JJennison@perkinscoie.com
     3150 Porter Drive                                 1201 Third Avenue, Suite 4900
 3   Palo Alto, CA 94304                               Seattle, WA 98101-3099
     Telephone: 650.838.4315                           Telephone: 206-359-3489
 4   Facsimile: 650.838.4350                           Fax: (206) 359-4489

 5   Matthew C. Bernstein, Bar No. 199240              W. Matthew Pierce (pro hac vice)
     MBernstein@perkinscoie.com                        WPierce@perkinscoie.com
 6   Joseph P. Reid, Bar No. 211082                    PERKINS COIE LLP
     JReid@perkinscoie.com                             1900 16th Street, Ste. 1400
 7   Miguel J. Bombach, Bar No. 274287                 Denver, CO 80202
     MBombach@perkinscoie.com                          Telephone: (303) 291-2300
 8   Abigail A. Gardner, Bar No. 334598                Fax: (303) 291-2400
     AGardner@perkinscoie.com
 9   PERKINS COIE LLP                                  Dakota Paul Kanetzky (pro hac vice)
     11452 El Camino Real, Suite 300                   DKanetzky@perkinscoie.com
10   San Diego, CA 92130-2080                          PERKINS COIE LLP
     Telephone: 858.720.5700                           405 Colorado Street, Ste 1700
11   Facsimile: 858.720.5799                           Austin, TX 78701
                                                       Telephone: (737) 256-6115
12   Attorneys for Defendant AviaGames Inc.            Fax: (737) 256-6300

13
14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN JOSE DIVISION

17
     SKILLZ PLATFORM INC., a Delaware            Case No.: 5:21-cv-02436-BLF (SVK)
18   corporation,
                                                 DEFENDANT AVIAGAMES INC.’S
19                        Plaintiff,             OPPOSITION TO PLAINTIFF SKILLZ
                                                 PLATFORM INC.’S RULE 37 MOTION
20          v.                                   FOR SANCTIONS

21   AVIAGAMES INC., a Delaware
     corporation,
22
                          Defendant.
23
24

25
26

27

28
                                                             Case No.: 5:21-cv-02436-BLF (SVK)
                                                    OPPOSITION TO SKILLZ’S RULE 37 MOTION
          Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 2 of 9



 1   I.      INTRODUCTION

 2           Skillz’s motion is rife with mischaracterizations and misstatements about what should have

 3   been a straightforward meet-and-confer process focused on fulfilling the Court’s Order to provide

 4   “limited discovery” on a single issue for which discovery has been re-opened. As part of the

 5   discussion, but wholly absent from Skillz’s motion:

 6              Skillz initially demanded three days of code review and, prior to Skillz filing the instant

 7               motion, AviaGames had agreed.

 8              The Protective Order in this case outlines that one computer shall be used for source

 9               code reviews.

10              AviaGames explained the burden of providing entire “collateral files,” including

11               databases, and Skillz agreed that it did not need the entire database or collateral files

12               and targeted requests were sufficient.

13           AviaGames attempted to reasonably negotiate with Skillz. Skillz, in turn, only became

14   more aggressive to the point of filing its motion on the Saturday of the Labor Day weekend claiming

15   it simply could not wait for AviaGames’ next proposal. That proposal, which acquiesced to Skillz’s

16   three-day request but requested limitations due to burden on the collateral sources Skillz admitted

17   it did not need, was entirely reasonable and in keeping with the Court’s order re-opening discovery.

18   And when Skillz did receive AviaGames’ proposal prior to filing its motion, it refused to revise its

19   motion to reflect the accurate state of discussions and instead misrepresented AviaGames’ position

20   in its motion by stating, repeatedly, that AviaGames only ever offered a single day with no

21   opportunity for further review. And, in doing so, Skillz modified its position from 3-days with

22   targeted requests for information from “collateral files” to unlimited days and all “collateral files.”

23   Yet, after two full years during which Skillz conducted numerous source code reviews under the

24   terms of the negotiated protective order without ever seeking the vast, new additional sources of

25   data—“scripts, schemas, and databases … including build files, make files, batch files,

26   configuration files, versioning files, and any other collateral files”—it now characterizes as part of

27   the “complete source code” that it “must have” in order to understand the source code, Skillz

28   barreled forward with one unreasonable demand after the next.
                                                          1            Case No.: 5:21-cv-02436-BLF (SVK)
                                                              OPPOSITION TO SKILLZ’S RULE 37 MOTION
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 3 of 9



 1             Far from being interested in actually understanding whether AviaGames uses alleged “bots”

 2   in a manner that may relate to direct infringement or damages, Skillz has revealed itself to be in an

 3   unrelenting pursuit of its business objective to impugn AviaGames’ integrity and poison its

 4   reputation in the marketplace.       None of its allegations bear any relationship to any patent

 5   infringement allegations.

 6             As the full record of the meet and confer process reveals, there is nothing sanctionable about

 7   AviaGames’ conduct and, to the extent sanctions are in order, they should be levied against Skillz

 8   for bringing this motion and violating the terms of the Protective Order by using documents and

 9   testimony it obtained during discovery in this case to levy baseless allegations in a different case

10   pending between the parties (and another third party, Big Run Studios) before Judge Araceli

11   Martinez-Olguin. In that case, Skillz admits that it used discovery from this case to craft claims of

12   false advertising and unfair competition. See Case No. 3:21-cv-04656-AMO, ECF. 197-3 at ¶ 116.

13   The Protective Order plainly prohibits such discovery abuse.

14             AviaGames seeks a reasonable approach to source code review that will allow Skillz to have

15   appropriately “limited discovery” relating to alleged “bots”, in accordance with the Court’s order

16   re-opening discovery, so this case can proceed to trial as scheduled. To that end, Avia Games

17   submits that Skillz’s motion should be denied, and that Skillz should be permitted—consistent with

18   AviaGames’ last proposal and Skillz’s initial request—three days to review AviaGames’ source

19   code under the terms of the Protective Order, without all the newly demanded collateral data source,

20   and with the ability to seek additional days to the extent Skillz can show good cause for additional

21   review.

22   II.       MEET AND CONFER BACKGROUND

23             Skillz’s Motion presents an incomplete and inaccurate picture of the parties’ meet-and-

24   confer negotiations over additional source code review. On August 29, 2023, Skillz demanded

25   three days for review with three computers and full access to new sources of collateral data,

26   including all of AviaGames’ “databases,” “including build files, make files, batch files,

27   configuration files, versioning files, and any other collateral file.” (ECF 242-2 at 3 (Falik Aug. 29,

28   2023 E-Mail).)
                                                        -2-               Case No.: 5:21-cv-02436-BLF (SVK)
                                                                 OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 4 of 9



 1            Skillz had never before during the course of discovery so much as mentioned these other

 2   data repositories, and, among other things, making them available for inspection would be a time

 3   consuming and burdensome task. In view of the Court’s Order, AviaGames expected one day of

 4   additional source code review, at most, by Skillz and rejected Skillz’ demand that it turn over all

 5   of its databases—having 15 terabytes of information—with no relevance to the alleged

 6   infringement or alleged “bots.”      Accordingly, on Thursday, August 31, 2023, AviaGames

 7   responded by proposing one day of source code review under the terms of the Protective Order

 8   (ECF 58 at § 9(c)), which provides for a single source code computer, and declined access to the

 9   collateral data sources noting that it was not “source code.” (ECF 242-2 at 2-3 (Bombach Aug. 31

10   E-Mail).) AviaGames explained it had serious concerns regarding the production of collateral files,

11   including databases, due to their size and sensitive information. (ECF 242-3 at 19-20 (stating that

12   database production is burdensome). Skillz subsequently reiterated its a three-day access request

13   (Wang Decl., Ex. A (Aug. 31 2023 Falik E-Mail)), but later conceded it did not need full access to

14   collateral files, stating “Skillz also does not believe it needs the entirety of any database to

15   understand its operation in relation to the source code.” (ECF 248-1 at 5 (Wood Sept. 2, 2023 2:54

16   PM E-Mail).)

17            Counsel for AviaGames worked diligently on the Saturday of a holiday weekend to balance

18   both concerns, i.e., Skillz’s desire for a three-day inspection with AviaGames’ desire to protect its

19   sensitive data (which Skillz admitted it did not need). Skillz had set a unilateral deadline at 5 PM

20   Pacific. (ECF 248-1 at 5 (Wood Sept. 2 3:06 PM E-Mail).) AviaGames’ counsel attempted to

21   reach resolution and, given the unilateral deadline, stated it was minutes to being able to provide a

22   reasonable proposal. (ECF 248-1 at 4 (Bombach Sept. 2 4:59 E-Mail) (“apologies on delay. I will

23   get back to you very shortly, within a few minutes.”).) Despite AviaGames’ request to wait a few

24   minutes, Skillz instead barreled forward with its motion, stating that its motion for terminating

25   sanctions could be withdrawn. (ECF 248-1 at 5 (Wood Sept. 2, 5:06 PM E-Mail) (Skillz stating:

26   “We cannot continue to delay. We are open to continued negotiations. We can withdraw our motion

27   if we reach resolution.”).) But, AviaGames did get back to Skillz within the promised minutes,

28
                                                      -3-              Case No.: 5:21-cv-02436-BLF (SVK)
                                                              OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 5 of 9



 1   offering Skillz what it originally asked for (3-days) while offering to address any database requests

 2   if Skillz identified what data it needed:

 3                   To avoid burdening the Court with motion practice and to cooperate
                     in good faith, we agree with three days on one review computer,
 4                   and we will offer you a break room. As you conceded, Skillz does
                     not need the entirety of any database to understand its operation in
 5                   relation to the source code and Skillz has to show good cause by
                     identifying the appropriate data, if any, that is sufficient to identify
 6                   the data types its use. Please confirm that is acceptable and we will
                     prepare the source code computer.
 7
 8   (ECF 248-1 at 3 (Bombach Sept. 2, 2023 5:25 E-Mail).) Skillz ignored this proposal. Five minutes

 9   later, at 5:30 PM, Skillz filed its motion for terminating sanctions, in which it repeatedly (and

10   falsely) insisted that AviaGames was only making its source code computer available for one day.

11   (Wang Decl., Ex. B (ECF notice)). Moreover, Skillz filed the above-described E-Mail chain on

12   Tuesday, days after its Saturday motion, recognizing that it cannot be ignored and that AviaGames

13   would mention it. (ECF 248.) Skillz barreled ahead with its motion for terminating sanctions,

14   without giving AviaGames any notice it was filing for terminating sanctions, mentioning only

15   discovery sanctions for the first time on a Friday meet and confer.

16            Skillz knew full well that the Court had ordered AviaGames to provide a production, and

17   discovery responses on Sept. 5th, but chose to pursue a terminating sanctions motion on what

18   appeared to be a discovery dispute seemingly heading towards mutual agreement. Skillz is not

19   engaging in good faith to resolve reasonable discovery concerns, and instead is weaponizing

20   sanctions. At no point did AviaGames ignore, violate, or fall within contempt of the Court’s

21   August 22, 2023 Order, which is silent to the scope of the additional source code review (which

22   AviaGames has always previously provided).

23   III.     SKILLZ’S REQUESTED RELIEF IS UNSUPPORTED BY THE FACTS AND
              SHOULD BE REJECTED OUT OF HAND
24

25            Skillz overreaches in its requested relief. Based on a discovery dispute essentially over the

26   number of days and number of computers for the source code review on an issue that this Court has

27   not yet determined is even relevant to the case, Skillz seeks an order prohibiting AviaGames from

28   relying on its source code in any way to prove noninfringement. It also seeks a finding of
                                                       -4-               Case No.: 5:21-cv-02436-BLF (SVK)
                                                                OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 6 of 9



 1   infringement, again attempting to sidestep AviaGames’ dispositive motion after it failed to come

 2   forth with any evidence to survive summary judgment. Moreover, Skillz itself admits that the seed

 3   generation algorithm AviaGames uses—which is central to the patent infringement issues in this

 4   case—does not infringe the ’564 patent and, moreover, this patent was facing very serious validity

 5   challenges for its lack of written description. Skillz is trying to drum up discovery conflicts in order

 6   to avoid—and bypass—the weak merits of its patent infringement case.

 7            None of Skillz’s requests are proportional to the dispute or appropriate here. See Network

 8   Appliance, Inc. v. Bluearc Corp., No. C 03–5665 MHP, 2005 WL 1513099, at *2-*4 (N.D. Cal.

 9   Jun. 27, 2005) (denying sanctions motion on “garden-variety discovery dispute” where plaintiff’s

10   complaints about defendant’s production failed to meet Rule 37’s “high standard”).

11            Skillz does not even attempt to meet this District’s requirements for issuing terminating

12   sanctions. Terminating sanctions are evaluated under a five-factor test analyzing: “(1) the public's

13   interest in expeditious resolution of litigation; (2) the court's need to manage its docket; (3) the risk

14   of prejudice to the party seeking sanctions; (4) the public policy favoring disposition of cases on

15   their merits; (5) the availability of less drastic sanctions.” See Wendt v. Host International, Inc.,

16   125 F.3d 806, 814 (9th Cir. 1997) (applying five-factor test and determining that expert testimony

17   should not have been excluded as a sanction for counsel's failure to disclose damages evidence and

18   for late-disclosing experts). Each of these factors require denial of this motion.

19            First, as to the first and second factors, this case continues to move towards expeditious

20   resolution and off the Court’s docket as AviaGames is working around the clock to meet Skillz’s

21   discovery demands in this limited period of re-opened discovery so that the trial date can remain in

22   place. Second, Skillz faces no risk of prejudice. “Exclusion sanctions based on alleged discovery

23   violations are generally improper absent undue prejudice to the opposing side.”              Amersham

24   Pharmacia Biotech, Inc. v. Perkin-Elmer Corp., 190 F.R.D. 644, 648 (N.D. Cal. 2000). AviaGames

25   already agreed to Skillz’s initial demand for three days of source code inspection and Skillz

26   conceded it did not need access to the entire databases before the Motion was filed. Skillz will be

27   able to review AviaGames’ source code and make targeted requests for additional information from

28   collateral sources as necessary to understand that code. Third, public policy weighs in favor of
                                                        -5-              Case No.: 5:21-cv-02436-BLF (SVK)
                                                                OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 7 of 9



 1   allowing this case to be decided on its merits. Finally, and notably, there are less drastic remedies

 2   available, i.e., an order setting forth the permissible scope of source code review.

 3            Skillz’s sanctions motion is an extreme overreach and should be denied.

 4   IV.      THE PROPER RESOLUTION OF THIS DISCOVERY DISPUTE IS
              AVIAGAMES’ PRE-FILING PROPOSAL.
 5
 6            Instead of terminating sanctions, the Court should order the parties to follow AviaGames’

 7   Saturday proposal for code review, specifically:

 8                Three days of code review, with the ability to request more if necessary;

 9                One computer pursuant to the Protective Order; and

10            This proposal strikes the right balance between allowing the limited additional discovery

11   ordered by the Court, without granting Skillz access to additional sensitive trade secret information

12   with no relevance to this action or alleged “bots,” and which Skillz has conceded it does not need.

13            Indeed, AviaGames has good reason not to trust Skillz with its irrelevant sensitive corporate

14   documents and information. Not only are they fierce business competitors, but Skillz already has

15   violated the protective order in this case at least once. Skillz used documents and testimony it

16   obtained during discovery in this case to support a motion to amend its complaint in a different case

17   pending between AviaGames, Skillz, and another party (Big Run Studios, a third-party game

18   developer that makes games that directly competes with AviaGames’ games) before Judge Araceli

19   Martinez-Olguin. Skillz admits in that case that it used discovery from this patent case to craft

20   claims of false advertising and unfair competition. See Case No. 3:21-cv-04656-AMO, ECF. 197-

21   3 at ¶ 116. Indeed, Skillz uses quotes from AviaGames confidential documents (in a cherry-picked

22   and misleading fashion) to bolster its baseless claims. The Protective Order plainly prohibits use

23   of confidential information produced in this case for anything other than this specific litigation: “A

24   Receiving Party may use Protected Material that is disclosed or produced by another Party or by a

25   Non-Party in connection with this case only for prosecuting, defending, or attempting to settle this

26   litigation.” (ECF 58 at § 7.1) (emphasis added).

27            Furthermore, Skillz has repeatedly contested AviaGames’ attempts to seal its source code

28   and confidential information. (See, e.g., ECF 222.) Skillz has taken the position that AviaGames’
                                                        -6-              Case No.: 5:21-cv-02436-BLF (SVK)
                                                                OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
          Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 8 of 9



 1   information should be widely disseminated, which raises deep concern that it will, indeed, be

 2   widely provided with no regard to the Court’s protective order or AviaGames’ source code and

 3   trade secrets.

 4   V.       CONCLUSION
 5            Skillz’s Motion should be denied, and the Court should order Skillz to conduct its source

 6   code review as AviaGames proposed: three days of review under the terms of the Protective Order,

 7   with none of the newly requested data sources. Skillz failed to honor the meet and confer process

 8   in good faith. It instead rushed to the Court with a sanctions motion only one day after the parties

 9   began discussing its demands. Worse, it filed the Motion after AviaGames already agreed to its

10   requested three days of source code inspection. Skillz’s conduct should not be rewarded in any

11   fashion, and certainly not with terminating sanctions in its favor.

12
13
14

15
16

17

18
19

20
21

22

23
24

25
26

27

28
                                                      -7-              Case No.: 5:21-cv-02436-BLF (SVK)
                                                              OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
        Case 5:21-cv-02436-BLF Document 249 Filed 09/06/23 Page 9 of 9



 1
     DATED: September 6, 2023                PERKINS COIE LLP
 2
 3                                           By: /s/ Chao “Wendy” Wang
                                                 Chao “Wendy” Wang, Bar No. 289325
 4                                               WWang@perkinscoie.com
                                                 PERKINS COIE LLP
 5                                               3150 Porter Drive
                                                 Palo Alto, California 94304-1212
 6                                               Tel: 650.838.4300
                                                 Fax: 650.838.4350
 7
                                                 Judith B. Jennison, Bar No. 165929
 8                                               JJennison@perkinscoie.com
                                                 Steven S. Beale (Pro Hac Vice)
 9                                               SBeale@perkinscoie.com
                                                 PERKINS COIE LLP
10                                               1201 Third Avenue, Suite 4900
                                                 Seattle, WA 98101-3099
11                                               Telephone: (203) 359-8000
                                                 Facsimile: (203) 359-9000
12
                                                 Matthew C. Bernstein, Bar No. 199240
13                                               MBernstein@perkinscoie.com
                                                 Joseph P. Reid, Bar No. 211082
14                                               JReid@perkinscoie.com
                                                 Miguel J. Bombach, Bar No. 274287
15                                               MBombach@perkinscoie.com
                                                 Abigail A. Gardner, Bar No. 334598
16                                               AGardner@perkinscoie.com
                                                 PERKINS COIE LLP
17                                               11452 El Camino Real, Suite 300
                                                 San Diego, CA 92130-2080
18                                               Telephone: (858) 720-5700
                                                 Facsimile: (858) 720-5799
19
                                                 Attorneys for Defendant
20                                               AviaGames Inc.
21

22

23
24

25
26

27

28
                                           -8-             Case No.: 5:21-cv-02436-BLF (SVK)
                                                  OPPOSITION TO SKILLZ’S RULE 37 MOTION
     163729537.1
